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 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12 UNITED STATES OF AMERICA,                            CASE NO. CR-12-0089 EMC (EDL)
13             Plaintiff,                               STIPULATION AND [PROPOSED]
                                                        ORDER MODIFYING CONDITIONS OF
14        v.                                            RELEASE TO PERMIT
                                                        INTERNATIONAL TRAVEL FROM
15 GIUSEPPE PENZATO,                                    JULY 11, 2012 THROUGH AUGUST 15,
                                                        2012
16             Defendant.
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18
                                              STIPULATION
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            Defendant Giuseppe Penzato has been on pretrial release since his bail hearing before the
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     magistrate court in June 2011. As a condition of his release, Mr. Penzato was required to
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     surrender his United States passport to U.S. Pretrial Services. A further condition is that Mr.
22
     Penzato not travel outside the United States without the permission of the Court.
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            At this time Mr. Penzato respectfully seeks the Court’s permission to travel to Italy to
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     receive medical treatment. Specifically, Mr. Penzato, who is an Italian citizen, is due to have his
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     prosthetic leg repaired and/or replaced. This periodic, non-elective treatment is necessary to
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     alleviate muscle and joint pain caused by a worn-out prosthesis. The cost of treatment, which
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     involves several fittings and adjustments over the course of several weeks at an orthopedic facility
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 1 outside Bologna, is covered in full by Mr. Penzato’s Italian health insurance. Similar treatment in

 2 the United States would cost tens of thousands of dollars.
 3          The government does not object to the modification of Mr. Penzato’s conditions of release

 4 to accommodate this travel. Pretrial Services is likewise amenable to the modification.

 5          Accordingly, the parties agree and stipulate that Mr. Penzato’s conditions of release should

 6 be modified to permit him to travel from his home in San Francisco to Italy from July 11, 2012
 7 through August 15, 2012 for the purpose of receiving medical treatment. The parties further agree

 8 and stipulate that Pretrial Services shall return Mr. Penzato’s passport to Mr. Penzato on or before

 9 July 10, 2012, and that Mr. Penzato shall return the passport to Pretrial Services within 48 hours of
10 his return to the United States, and at any rate no later than August 17, 2012. The parties further
11 agree and stipulate that Mr. Penzato shall provide Pretrial Services with any and all requested

12 information concerning the logistics of his travel and accommodations in Italy.
13          IT IS SO STIPULATED.

14
     DATED: June 11, 2012                      /s/
15
                                              NANCI L. CLARENCE
16                                            JOSH A. COHEN
                                              Attorney for JOSEPH CAROZZA
17
18 DATED: June 11, 2012

19                                             /s/
                                              OWEN MARTIKAN
20                                            Assistant United States Attorney
21

22                                                ORDER

23          By stipulation of the parties, and for good cause shown, it is hereby ordered that defendant

24 Giuseppe Penzato’s conditions of release shall be modified as follows: Mr. Penzato shall be
25 permitted to travel from his home in San Francisco to Italy from July 11, 2012 through August 15,

26 2012. Pretrial Services shall return Mr. Penzato’s passport to Mr. Penzato on or before July 10,

27 2012. Mr. Penzato shall return the passport to Pretrial Services within 48 hours of his return to the
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                                                     STIPULATION MODIFYING CONDITIONS OF RELEASE
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 1 United States, but in no event later than August 17, 2012. Mr. Penzato shall provide Pretrial

 2 Services with any and all requested information concerning the logistics of his travel and
 3 accommodations in Italy. All other conditions of release shall remain in effect.

 4         IT IS SO ORDERED.

 5
           June 13
 6 DATED: ______________, 2012
 7                                           ELIZABETH D. LAPORTE
                                             UNITED STATES MAGISTRATE JUDGE
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                                                    STIPULATION MODIFYING CONDITIONS OF RELEASE
